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 5
     Attorney for Defendant,
 6   PETER WOODARD

 7
                                THE UNITED STATES DISTRICT COURT
 8                           FOR THE EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,                         CASE NO. 2:12-CR-00315-JAM-5

11              Plaintiff,                             STIPULATION AND ORDER SETTING
                                                       INITIAL APPEARANCE
12        vs.
                                                       Date: January 24, 2013
13   PETER WOODARD,                                    Time: 2:00 p.m.
                                                       Court: 27
14              Defendant.                             Judge: Hon. Dale A. Drozd

15

16          IT IS HEREBY STIPULATED AND AGREED between plaintiff, United States of

17   America, by and through its counsel, TODD LERAS, and defendant, PETER WOODARD, by

18   and through his counsel, DAN F. KOUKOL, as follows:

19          (1) Mr. Woodard’s initial appearance may be scheduled for Thursday, January 24, 2013,

20                in Courtroom 27 at 2:00 p.m.; and,

21                //

22                //

23                //

24                //

25                //
                                                 -1-
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 1            (2) Mr. Woodard agrees to be present at his January 24, 2013 initial appearance before

 2                this court.

 3

 4   DATED: JANUARY 18, 2013              Respectfully submitted,

 5
                                          /s/ DAN KOUKOL
 6                                        _________________________________
                                          DAN KOUKOL
 7                                        Attorney for defendant Peter Woodard

 8

 9   DATED: JANUARY 18, 2013              Respectfully submitted,

10
                                          /s/ DAN KOUKOL FOR TODD LERAS
11                                        _________________________________
                                          Todd Leras
12                                        Assistant U.S. Attorney

13

14

15

16                                                    ORDER

17            IT IS SO ORDERED that Mr. Woodard’s initial appearance on the complaint filed

18   September 6, 2012 is SET for Thursday, January 24, 2013, at 2:00 p.m., in Courtroom 27.

19   DATED: January 22, 2013

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24   Woodard0315.stipord.arraign.doc


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